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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI


UNITED STATES OF AMERICA,

V.                                                            CRIMINAL NO. 3:20CR19

CHRISTOPHER CASEY COOK

             MOTION FOR RECONSIDERATION OF BOND PENDING TRIAL

       Mr. Christopher Casey Cook, by counsel, moves this Court, pursuant to 18 U.S.C. §3142(f)

that Mr. Cook’s pretrial detention order be reconsidered based upon the Government’s request for

continuance of trial due to the world-wide COVI-19 pandemic and the requirements of social

distancing, and states as follows:

                                                 1.

       Trial in this matter is currently scheduled for June 15, 2020. This case has previously been

continued.

                                                 2.

       On February 11, 2020, Magistrate Judge Roy Percy granted Mr. Cook pretrial release but

placed several conditions upon him for his release including home detention and GPS monitoring.

                                                 3.

       On April 17, 2020, the Government moved to revoke Mr. Cook’s bond stating that he had

violated various requirements of his release. Mr. Cook’s violations can best be summarized as:

1) testing positive for narcotics on one occasion, 2) being outside the four walls of his residence

by essentially being in his backyard and across the street at his mother’s storage units, and 3) being

in possession of a shotgun with a duct taped barrel and a rusted chamber.        (Photographs of the

shot gun are attached hereto as Exhibit “A”).




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                                                  4.

       On April 22, 2020, a revocation hearing was held and Judge Percy ordered that Mr. Cook

be detained pending trial. [Docket #31]. Other than being in possession of a rusted and duct taped

shotgun, there is nothing about the violations of his pretrial release that go to the fundamental

issues of whether Mr. Cook is a danger to the community and whether he will appear for court

when required.

                                                  5.

       The Government has now filed a second motion to continue trial claiming that Mr. Cook’s

case cannot go forward on June 15th due to the COVID-19 virus and the difficulty with conducting

a trial in the era of social distancing. [Docket #41].

                                                  6.

       Mr. Cook has opposed the Government’s motion to continue. [Docket # 43]. Mr. Cook

has been incarcerated for 48 days awaiting his day in court. Each day that goes by is punitive and

thus offends his 5th Amendment due process rights.

                                                  7.

       One of the more frustrating issues concerning this virus is that no one can give a date as to

when social distancing will no longer be required. It is plausible that the Governor’s most recent

order “Safe Return” will remain in effect until a vaccine becomes available. Therefore, the social

distancing measures imposed by Governor Reeves could remain in effect for the foreseeable

future. Such social distancing measures will make it challenging to conduct jury trials. In the

meantime, those pretrial detainees, like Mr. Cook, will remain jailed with no end in sight.

                                                  8.

       In reviewing the factors provided in 18 USC §3142(g) for pretrial release, the offense does

not involve violence, minor children, a controlled substance or firearms. As to the history and

characteristics of Mr. Cook, he is 43 years old with a college degree from the University of

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Mississippi in biology (i.e. pre-med). Mr. Cook attended medical school in Fort Lauderdale,

Florida, from 2002 – 2004. Mr. Cook obtained a master’s degree in educational administration in

2006. In 2016, Mr. Cook became a small business owner when he opened a hotel in Calhoun City,

Mississippi. Mr. Cook has no prior felony criminal convictions. He has lived most of his life in

Calhoun City, Mississippi.

       Mr. Cook has several family ties within the northern district of Mississippi. His mother,

Patricia Cook, resides in Calhoun County and is a retired public school teacher with no criminal

history. Ms. Cook attended both detention hearings and testified that she would be willing to house

Mr. Cook if so required and would also make sure that he attended all necessary court hearings.

Mr. Cook’s brother is the offensive coordinator for Ittawamba Community College’s football team

and has also attended one of Mr. Cook’s detention hearings.

       As for Mr. Cook’s record concerning court appearances, in 2019 he attended his state court

trial where the jury returned a not guilty verdict for the sale of a controlled substance.

                                                  9.

       Pursuant to the ongoing pandemic and the Government’s request for a continuance, Mr.

Cook requests that his bond be reinstated. There exist conditions or a combination of conditions

that will protect the community and assure Mr. Cook’s presence at all necessary court appearances.

If the Court grants bond then Mr. Cook will withdraw his opposition to the continuance of his trial.

                                               Respectfully submitted,

                                               CHRISTOPHER CASEY COOK

                                                /s/ Merrill K. Nordstrom
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                                  CERTIFICATE OF SERVICE

       I, Merrill K. Nordstrom, attorney for the Defendant, Christopher Casey Cook, do hereby

certify that I electronically filed the foregoing with the Clerk of the Court using the CM/ECF

system and that the following party will be notified electronically of filing:

               Hon. Paul Roberts, AUSA
               Paul.roberts@usdoj.gov

       Dated this the 4th day of June, 2020.

                                                      /s/ Merrill K. Nordstrom
                                                      MERRILL K. NORDSTROM
                                                      Assistant Federal Public Defender




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